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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION


ADAM DAVIS, JR.                                                                       PLAINTIFF

v.                                   CASE NO. 1:16-cv-1005

WEST FRASER, INC.                                                                   DEFENDANT

LOUISIANA COMMERCE & TRADE ASSOCIATION,
SELF INSURERS FUND                                                                 INTERVENOR

                                             ORDER

       Before the Court is the parties’ Joint Stipulation for Dismissal with Prejudice. (ECF No.

28). It has been reported to the Court that the within matter has been fully settled and compromised

by the parties. Accordingly, the Court finds that this matter should be and hereby is DISMISSED

WITH PREJUDICE. If any party desires that the terms of settlement be a part of the record

therein, those terms should be reduced to writing and filed with the court within thirty (30) days

of the entry of this order. The Court shall retain jurisdiction over the terms of the settlement

agreement.

       IT IS SO ORDERED, this 9th day of August, 2017.


                                                             /s/ Susan O. Hickey
                                                             Susan O. Hickey
                                                             United States District Judge
